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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,

vs. No. 04-20017 D/V

RANDE LAZAR, M.D., d/b/a

OTOLARYNGOLOGY
CONSULTANTS OF MEMPHIS,

Defendant.

 

ORDER ON DEFENDANT'S EMERGENCY MOTION FOR RELIEF TO STOP
THE GOVERNMENT’S IMPROPER INTERFERENCE WITH THE
DEFENDANT'S RIGHT TO INTERVIEW WITNESSES

 

On March 28, 2004, the defendant, Rande Lazar, filed an
emergency'motion for relief to stop the prosecution from improperly
interfering with the defendant’s right to interview witnesses. A
hearing was requested on this motion and a hearing was held before
the undersigned United States Magistrate Judge on May 25, 2005.

In this motion, Lazar alleges that the government wrongfully
interfered with his right to interview at least one witness, and
likely more, in violation of the Fifth Amendment. According to
Lazar, the government told Dr. Mark Logan, a physician-witness,
that his grand jury testimony was “secret” and off limits to
defense counsel. Lazar requested this hearing to determine (l) the

full nature and extent of the government's potential witness

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interference, including all government's contacts with witnesses;
(2) all persons who may have been wrongly instructed that their
grand jury testimony was secret and off-limits to defense counsel;
(3) all persons told to call the prosecutors before speaking to
defense counsel; and (4) all express and implied threats made to
any fact witness to influence their decision to speak to defense
counsel.

At the hearing, defense counsel conceded that the issue is now
moot. After some delay, apparently caused by confusion on the part
of counsel for Dr. Logan, defense counsel for Lazar received
responses to questions that had been sent to Dr. Logan. In his
responses, Dr. Logan unequivocally stated that there had been no
government interference with his communications with defense
counsel. (Court Exhibit 3).

Accordingly, this court finds that the government, including
Assistant United States Attorney's Kevin Whitmore and Cam Jones,
was not engaged in any improper conduct that may have interfered
with Lazar’s access to or communications with potential witnesses.

IT Is so 0RDERED this 27th day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 338 in
case 2:04-CR-20017 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

